Case 1:25-cv-20757-JB Document 99 Entered on FLSD Docket 06/16/2025 Page 1 of 13




                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA

                           Case No.: 1:25-cv-20757-JB/Torres
 JANE DOE,
         Plaintiff,
 v.
 STEVEN K. BONNELL II,
         Defendant.
                             /



      DEFENDANT STEVEN K. BONNELL’S OPPOSITION TO PLAINTIFF’S MOTION
       FOR PROTECTIVE ORDER GOVERNING PUBLIC COMMENTARY BY TRIAL
                              PARTICIPANTS

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Case 1:25-cv-20757-JB Document 99 Entered on FLSD Docket 06/16/2025 Page 2 of 13




 I.     INTRODUCTION

        In the latest flurry of motions Plaintiff filed, she now improperly seeks to silence Bonnell

 and prevent him from publicly defending himself or even talking about the lawsuit. While seeking

 the extraordinary relief of prior restraint of Bonnell’s First Amendment rights, Plaintiff herself

 continues to attack and malign Bonnell online, including through her Substack posts, social media

 updates, pleas for additional witnesses to come forward, and solicitations for donations to her legal

 fund, all of which have been viewed collectively more than 1.5 million times. Rather than preserve

 fairness, as Plaintiff claims to be her goal, her proposed order would ensure just the opposite. In

 short, Plaintiff seeks to draw and benefit from public assistance, while pursuing her lawsuit

 anonymously and muzzling the defendant at the same time. Such extraordinary relief is neither

 warranted nor supported by law. Plaintiff’s Motion should be denied.

 II.    FACTUAL BACKGROUND

        Plaintiff’s online smear campaign began even before she filed her lawsuit and continues to

 this day. On January 20, 2025, Plaintiff published an article on Substack, titled I will be suing

 Steven Kenneth Bonnell II, wherein she falsely accused Bonnell of intentionally distributing

 “pornographic content” featuring Plaintiff and “using a proxy to widely distribute” that content.

 (Bonnell Decl., Apr. 25, 2025 [ECF No. 42-1] ¶ 23.) Plaintiff’s Substack post is still active. (Id.)

 Plaintiff also used her social media accounts to advertise and promote her Substack post, including

 on X and BlueSky Social in which she wrote, “I will be suing [Destiny] in federal court. Here’s

 my story,” and provided a link to her Substack post. (Id. ¶ 24 & Ex. F.) Shortly thereafter, Plaintiff

 and her friend, Lauren Dreeben Hayden, created a GiveSendGo page (similar to a GoFundMe

 page) to raise money to cover Plaintiff’s legal fees in this case. (Id. ¶ 26.) The GiveSendGo page

 includes a link to Plaintiff’s Substack post. (Id. at Ex. H.)



                                                    1
Case 1:25-cv-20757-JB Document 99 Entered on FLSD Docket 06/16/2025 Page 3 of 13




        In addition to her Substack and GiveSendGo pages, Plaintiff has posted and continues to

 post messages online, including on X (using the handle @pxielove), about Bonnell, the

 undersigned attorneys, and the allegations in her lawsuit. (Id. ¶ 27 & Ex. I.) Her public statements

 include vitriolic attacks on Bonnell and his attorneys, regular updates concerning the rulings of

 this Court, repeated pleas for money to fund her litigation, as well as renewed pleas for additional

 witnesses to come forward and testify against Bonnell. For months, Plaintiff has repeatedly and

 publicly accused Bonnell of “twisting the narrative,” has encouraged potential witnesses to come

 forward and testify against Bonnell with a promise of anonymity, and has continuously solicited

 monetary donations for her purported legal fund. For example, on May 19, 2025, Plaintiff posted

 on X, “Please don’t hesitate to contact me if you believe you might be a witness or another victim.”

 (Brettler Decl. ¶ 3 & Ex. A.)

        Then, just a few weeks ago, Plaintiff posted the following on X:

                COURT UPDATE: Good news, despite opposition from Destiny’s
                council [sic], the court has granted us the ability to keep witnesses
                [sic] identity under seal. If you have any information regarding the
                case, we can file to keep your name out of public and protected by
                the court . . . Please don’t hesitate to contact me if you believe you
                might be a witness or another victim . . . Also please help and donate
                if you can to help keep this case going. Every dollar counts.

                (Id., ¶ 4 & Ex. B (emphasis added).)

        Plaintiff    further     attacked    Bonnell      for    allegedly     “playing     into    the

 humiliation/defamation/public harassment campaign that’s being used to scare other victims into

 silence.” (Id. at ¶ 5 & Ex. C.) Further, on May 20, 2025, Plaintiff published Bonnell’s legal filings

 on X, publicly rebuked him, and commented on the legal issues before the Court: “I suggest you

 re-read the objection your legal counsel filed. . . . Destiny is claiming his only issue was not having

 access to the redacted documents. This is extremely interesting . . . Destiny and his attorneys were

 told repeatedly that they would have access to the unredacted versions . . . giving him access to
                                                   2
Case 1:25-cv-20757-JB Document 99 Entered on FLSD Docket 06/16/2025 Page 4 of 13




 the names before the court could protect them would defeat the purpose of the seal.” (Id. at ¶ 6 &

 Ex. D.)

 III.      PLAINTIFF SEEKS AN UNCONSTITUTIONAL PRIOR RESTRAINT OF
           BONNELL’S FIRST AMENDMENT RIGHTS.

           Prior restraints constitute “one of the most extraordinary remedies known to our

 jurisprudence” and are universally recognized to be “the most serious and least tolerable

 infringement on First Amendment rights.” Neb. Press Ass’n v. Stuart, 427 U.S. 539, 559 (1976);

 see also CBS, Inc. v. U.S. Dist. Ct., 729 F.2d 1174, 1177 (9th Cir. 1984) (“The first amendment

 informs us that the damage resulting from a prior restraint—even a prior restraint of the shortest

 duration—is extraordinarily grave”).

           While courts have adopted varying standards to evaluate restrictions on extrajudicial

 statements, ranging from “reasonable likelihood” to “clear and present danger,” the Eleventh

 Circuit has not yet established a definitive standard for evaluating restraints on trial participant

 speech. See News-Journal Corp. v. Foxman, 939 F.2d 1499, 1515 & n. 18 (11th Cir. 1991)

 (acknowledging split among circuits and declining to resolve the issue); see also ParkerVision,

 Inc. v. Qualcomm Inc., No. 14-cv-687-PGB-LHP, 2025 WL 436768, at *2 (M.D. Fla. Feb. 7, 2025)

 (surveying split and noting that the Eleventh Circuit “has not formulated a standard of review”).

           Nonetheless, Florida federal courts have consistently applied the standard endorsed in

 Gentile v. State Bar of Nev., 501 U.S. 1030 (1991), requiring a “substantial likelihood of material

 prejudice” that cannot be addressed by less restrictive means. See, e.g., United States v. Hernandez,

 No. 98-0721-CR, 2001 WL 37126807, at *5-6 (S.D. Fla. Feb. 20, 2001) (applying Gentile and

 following United States v. Brown, 218 F.3d 415 (5th Cir. 2000), in holding that a gag order must

 be the “least restrictive means” and justified by specific findings of a substantial likelihood of

 prejudice). Courts must be “convinced, not merely suspect,” that extrajudicial statements will

                                                  3
Case 1:25-cv-20757-JB Document 99 Entered on FLSD Docket 06/16/2025 Page 5 of 13




 materially prejudice the case. See Gentile, 501 U.S. at 1075; see also United States v. Scarfo, 263

 F.3d 80, 94 (3d Cir. 2001) (vacating gag order where no showing of substantial likelihood of

 material prejudice and criticizing vague justifications as insufficient to justify restricting speech).

        To obtain the extraordinary relief of prior restraint of Bonnell’s First Amendment rights,

 Plaintiff bears the burden of showing that (1) Bonnell’s speech poses a substantial likelihood of

 material prejudice to these proceedings, and (2) no less restrictive alternatives would suffice.

 Hernandez, 2001 WL 37126807 at *5. Plaintiff has not and cannot meet her burden.

        A.      No Substantial Likelihood of Material Prejudice Exists.

        Where litigation remains in its early, pre-discovery posture, as here, courts are markedly

 reluctant to curtail speech. “[L]imiting speech by parties and witnesses, particularly in a civil case

 and [at such an early stage], is not to be lightly undertaken.” Constand v. Cosby, 229 F.R.D. 472,

 475 (E.D. Pa. 2005); see also Calhoun v. Invention Submission Corp., No. 18-CV-01022-CB-PLD,

 2020 WL 620174, at *2–3 (W.D. Pa. Feb. 10, 2020) (rejecting claims that early-stage commentary

 created a likelihood of material prejudice and denying request for sanctions or restraint where no

 discovery had begun and no trial date had been set).

        Prior restraints are permissible only in the most exceptional circumstances—where speech

 “imperils other rights, such as the right to a fair trial.” Hunters Run Prop. Owners Ass’n v.

 Centerline Real Estate, LLC, No. 18-80407-CIV-REINHART, 2019 WL 13064761, *1 (S.D. Fla.

 Nov. 1, 2019). The movant must demonstrate actual conduct that threatens to interfere with the

 judicial process—not speculative harm or generalized discomfort. See id.; see also S.E.C. v. Lauer,

 No. 04-80211-CIV, 2004 WL 2931398, at *1-2 (S.D. Fla. Nov. 18, 2004) (denying gag order

 where movant failed to show evidence of prejudice or causal link between media coverage and

 harm to proceedings and emphasizing the “heavy presumption of unconstitutionality”).



                                                    4
Case 1:25-cv-20757-JB Document 99 Entered on FLSD Docket 06/16/2025 Page 6 of 13




         Here, Plaintiff fails to tie her alleged harm to any specific statements or conduct attributed

 to Bonnell, and fails to demonstrate how those purported harms create a substantial likelihood of

 material prejudice to the proceedings. Courts have consistently rejected efforts to justify speech

 restrictions based on such general allegations. See, e.g., Constand, 229 F.R.D. at 480 (rejecting a

 request for a blanket protective order where “the basis for these concerns [e.g., embarrassment,

 invasion of privacy, jury taint] has not been connected to any particular type of discovery” and

 “defendant has not shown that the private interests in this case outweigh the public interest in

 access to these proceedings”).

         Here, Plaintiff has made no attempt to identify which, if any, specific statements from

 Bonnell purportedly caused her harm, nor has she articulated how any of those statements pose a

 concrete risk to the fairness of trial proceedings. Plaintiff’s motion lists a range of grievances,

 alleged harassment, mischaracterization of filings, speculative commentary about witnesses, but

 fails to connect any of those assertions to specific statements that risk “material prejudice” to these

 proceedings. Mere recitations of harm, without evidence or linkage to particular content, fall well

 short of justifying a constitutional restraint. United States v. Noriega, 752 F. Supp. 1045, 1054

 (S.D. Fla. 1990) (“speculative harm falls well short of the showing necessary for the imposition of

 a prior restraint”).

         Plaintiff’s assertion that unnamed and/or yet unidentified witnesses may be deterred due to

 online harassment or exposure is exactly the sort of vague, unsubstantiated claim courts reject. See

 Constand, 229 F.R.D. at 479 (rejecting “unsubstantiated,” “stereotypical,” and “non-specific

 conclusory” claims of harm to unnamed witnesses as insufficient to establish good cause under

 Rule 26(c)). Plaintiff’s dissatisfaction with the content of Bonnell’s alleged commentary online

 does not change that result. Plaintiff alleges that Bonnell’s public commentary is “misleading” or



                                                   5
Case 1:25-cv-20757-JB Document 99 Entered on FLSD Docket 06/16/2025 Page 7 of 13




 “misrepresentative.” (Mot. [ECF No. 84] at 4, 7.) Even assuming her allegations were true,

 Plaintiff fails to meet the exacting constitutional standard for the imposition of a prior restraint.

 Indeed, even inaccurate or adverse commentary remains protected speech. See Neb. Press Ass’n,

 427 U.S. at 554 (“[P]retrial publicity, even pervasive, adverse publicity, does not inevitably lead

 to an unfair trial.”); see also Town of Lantana v. Pelczynski, 290 So. 2d 566, 569 (Fla. 4th DCA

 1974) (“Freedom from prior restraint upon speech and press extends to false, as well as true

 statements.”).

        Plaintiff’s allegations are speculative, her evidentiary showing is nonexistent, and her

 proposed restraint is constitutionally prohibited. The First Amendment does not yield to discomfort

 or criticism, and where traditional judicial safeguards remain fully available, silencing a litigant is

 neither warranted nor constitutional.

        B.        The Proposed Order Is Vague and Overly Broad, and the Requested Relief Is
                  Not the “Least Restrictive” Alternative Available.

        In her Motion, Plaintiff fails to address, let alone substantiate, whether any less restrictive

 alternative would suffice. Indeed, Plaintiff completely ignores that traditional remedies such as

 voir dire, jury instructions, or existing confidentiality orders are adequate and available to address

 her concerns. For example, Plaintiff’s attorneys would have the right to question potential jurors

 about what they read online or heard about the case prior to trial. Plaintiff’s failure to even address

 these less restrictive alternatives only underscores that her request is not just unsupported, but

 constitutionally indefensible. See, e.g., Munoz v. City of N.Y., No. 11 Civ. 7402 (JMF), 2013 WL

 1953180, at *1 (S.D.N.Y. May 10, 2013) (noting voir dire was sufficient to address any possible

 prejudice).

        Further, Plaintiff’s proposed order seeks to prohibit speech that is already covered by

 existing confidentiality protections, including by shielding Plaintiff’s identity and permitting her

                                                   6
Case 1:25-cv-20757-JB Document 99 Entered on FLSD Docket 06/16/2025 Page 8 of 13




 to file exhibits under seal. 1 These materials are already safeguarded by court order, and duplicating

 those protections within a broader gag order reflects neither necessity nor restraint. More

 concerning, however, is Plaintiff’s request to prohibit any statements deemed “derogatory,”

 “intimidating,” or that “misrepresent or mischaracterize . . . the positions of any party or attorney

 in this litigation.” (Mot. [ECF No. 84] at 8.) These terms are hopelessly vague, inviting arbitrary

 enforcement and chilling constitutionally protected speech. See Gentile, 501 U.S. at 1051 (“The

 prohibition against vague regulations of speech is based in part on the need to eliminate the

 impermissible risk of discriminatory enforcement.”); In re Dan Farr Prods., 874 F.3d 590, 596

 (9th Cir. 2017) (striking gag order not narrowly tailored to prevent material prejudice); cf. Levine

 v. U.S. Dist. Ct. for Cent. Dist. of Cal., 764 F.2d 590, 599 (9th Cir. 1985) (noting that gag orders

 must be narrowly drawn and specific; “a restraining order is unconstitutionally vague if it fails to

 give clear guidance regarding the types of speech for which an individual may be punished”).

        C.      Bonnell Has a Right To Defend Himself Against Plaintiff’s Allegations.

        Bonnell, like any litigant, has a constitutional right to respond to public accusations. The

 Supreme Court in Gentile recognized that rebutting public allegations and defending one’s

 reputation is not an effort to prejudice a proceeding, but a legitimate exercise of free speech. See

 Gentile, 501 U.S. at 1042-43 (rejecting the claim that an attorney’s public statement was intended

 to prejudice proceedings). Gentile emphasized that the First Amendment protects the right to speak



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   Plaintiff’s motion to file her declaration under seal [ECF No. 85], which she filed on the same
 day as this Motion, should also be denied. Plaintiff’s declaration purports to attach three text
 messages in which unidentified witnesses state that they refuse to testify absent assurance that their
 identities will remain confidential. The wishes of the purported witnesses are irrelevant, and
 Plaintiff has failed to demonstrate that any of the purported witnesses possess actual knowledge
 concerning the facts of this case. Witnesses’ identities are not inherently confidential. See
 Hubbard v. Bankatlantic Bancorp., Inc., No. 07-61542-CIV, 2009 WL 3856458, at *3 (S.D. Fla.
 Nov. 17, 2009) (“The identities of witnesses are discoverable”); see also Def.’s Opp’n to Mot. for
 Protective Order [ECF No. 92] at 3-4.
                                                   7
Case 1:25-cv-20757-JB Document 99 Entered on FLSD Docket 06/16/2025 Page 9 of 13




 out against adverse publicity, particularly where that speech counters narratives already circulating

 in the public. The public also has a right to hear his side. As the Supreme Court in Alexander v.

 United States has explained, “the special vice of the prior restraint is suppression of speech . . .

 prior to a determination that the targeted speech is unprotected by the First Amendment.” 509 U.S.

 544, 574-75 (1993) (Kennedy, J., dissenting).

         The court in United States v. Carmichael, 326 F. Supp. 2d 1267 (M.D. Ala. 2004), observed

 that a gag order is a prior restraint and that such restraint is “the most serious and the least tolerable

 infringement on First Amendment rights” and must be approached with heightened scrutiny. Id. at

 1291. Further, courts have emphasized that litigants “do not surrender their First Amendment

 rights at the courthouse door.” Seattle Times Co. v. Rhinehart, 467 U.S. 20, 32, n. 18 (1984).

         Plaintiff’s Motion is nothing more than an attempt to restrict public access to this Court,

 and the Eleventh Circuit is clear that such an act is presumptively unconstitutional absent a

 compelling government interest and must be narrowly tailored to serve that interest. See Wilson v.

 Am. Motors Corp., 759 F.2d 1568, 1571 (11th Cir. 1985) (applying Globe Newspaper Co. v. Super.

 Ct., 457 U.S. 596 (1982) and holding that sealing a trial record requires a compelling governmental

 interest and narrow tailoring; and affirming that “simply showing that the information would harm

 [the party’s] reputation is not sufficient to overcome the strong common law presumption in favor

 of public access.”) (citations and internal quotations omitted).

         D.      Plaintiff’s Authorities Are Inapposite and Do Not Support Imposing a Gag
                 Order.

         The authorities on which Plaintiff relies are inapposite. While Gentile may be instructive

 here, Plaintiff’s reliance on the case is misplaced in that Gentile addressed restrictions on

 attorneys, i.e., officers of the court bound by ethical obligations and entrusted with non-public

 information, as opposed to restrictions on parties’ speech. As the Carmichael court explained,

                                                     8
Case 1:25-cv-20757-JB Document 99 Entered on FLSD Docket 06/16/2025 Page 10 of 13




  Gentile’s reasoning is “inapposite” where a gag order targets a party rather than counsel, because

  civil litigants are not subject to the same professional responsibilities and have no privileged access

  to case information. 326 F. Supp. 2d at 1294. Accordingly, Carmichael rejected the notion that

  Gentile’s more permissive standard for restricting attorney speech could justify a similar restriction

  on a party, concluding that, “a lower threshold of proof is [not] appropriate under these factual

  circumstances.” Id.; see also Dan Farr Prods., 874 F.3d at 593 (holding that prior restraints on

  non-attorney participants are subject to strict scrutiny). Courts have consistently recognized that

  limits on attorney speech do not extend automatically to parties. See Gentile, 501 U.S. at 1071

  (noting that in In re Sawyer, 360 U.S. 622, 79 S. Ct. 1376, 3 L. Ed. 2d 1473 (1959), the Court

  “observed that lawyers in pending cases were subject to ethical restrictions on speech to which an

  ordinary citizen would not be.”); Constand, 229 F.R.D. at 475 (warning that “[l]imiting parties

  and witnesses from making extrajudicial statements during a pending civil proceeding raises

  constitutional questions where similar limitations upon lawyers do not”).

          Plaintiff’s reliance on News-Journal Corp., 939 F.2d at 1500, fares no better. New-Journal

  Corp. involved a sensational murder trial that drew national press, televised reenactments, and

  repeated leaks from trial participants. The gag order imposed there was narrowly tailored, time-

  limited, and grounded in specific findings that extrajudicial commentary risked prejudicing the

  criminal defendants’ Sixth Amendment rights. No such findings—or comparable circumstances—

  exist here.

          Likewise, Plaintiff’s reliance on In re Subpoena to Testify Before Grand Jury, 864 F.2d

  1559 (11th Cir. 1989), is misplaced. That case concerned the confidentiality of grand jury

  proceedings—a context governed by its own long-established secrecy rules. The Eleventh Circuit

  upheld a limited non-disclosure order based on a “compelling necessity” tied to preserving grand



                                                    9
Case 1:25-cv-20757-JB Document 99 Entered on FLSD Docket 06/16/2025 Page 11 of 13




  jury integrity. Id. at 1564. Courts treat grand jury secrecy as a narrow exception to typical First

  Amendment standards, and In re Subpoena has no bearing on a civil litigant’s speech in a pretrial

  posture.

         United States v. Brown, 218 F.3d 415 (5th Cir. 2000), is similarly inapplicable. That case

  involved a high-profile criminal prosecution of a political figure, with extensive press coverage

  and a pattern of deliberate media leaks by both parties—including the release of sealed recordings.

  The court found a “substantial likelihood” that these statements would taint jurors in one of three

  related trials and create a “carnival atmosphere.” Id. at 428-29.

         This case presents no such risk. It is a low-profile civil dispute in early pretrial stages with

  no jury impaneled, no media frenzy, and no history of sealed materials being leaked. 2 Plaintiff

  does not allege that Bonnell’s speech has influenced, or even reached, prospective jurors. Her

  vague references to a “substantial likelihood of prejudice” (Mot. [ECF No. 84] at 2, 7) lacks factual

  support and finds no refuge in Brown. That precedent cannot be repurposed into a blank check to

  silence disfavored but constitutionally protected speech in an online dispute. Plaintiff’s

  authorities—drawn from criminal proceedings, grand jury secrecy, and attorney-specific

  restrictions—do not come close to justifying the sweeping restraint she now seeks.




  2
    Plaintiff claims Bonnell violated the Court’s order protecting her identity by linking to a YouTube
  video in which her first name was briefly mentioned. (Mot. [ECF No. 84] at 4.) This clip was
  posted before the Jane Doe order issued, and Bonnell promptly redacted the reference of Plaintiff’s
  first name once notified. Instead of requesting further redaction, Plaintiff filed a public brief
  linking to the video and flagging the exact timestamp, amplifying the very disclosure she now
  challenges. These actions undercut any genuine privacy concern and reflect strategic opportunism,
  not actual harm.
                                                   10
Case 1:25-cv-20757-JB Document 99 Entered on FLSD Docket 06/16/2025 Page 12 of 13




  IV.      PLAINTIFF’S ONGOING PUBLICITY CAMPAIGN UNDERMINES HER CLAIM
           OF PREJUDICE.

           Courts have emphasized that gag orders must apply evenhandedly and that a party’s

  own public statements can undercut any claim of one-sided prejudice. See Carmichael, 326

  F. Supp. 2d at 1294 (“The fact that the protective order in this case would burden only the

  defense calls for a higher threshold standard of proof.”); see also Dan Farr Prods., 874

  F.3d at 593-96 (applying strict scrutiny standard to gag orders on non-attorney speakers,

  particularly where both parties engaged in public commentary).

           That rationale applies with even greater force here, where Plaintiff has chosen to litigate

  publicly via Substack, GiveSendGo, and social media, while attempting to bar Bonnell from doing

  the same. Allowing one party to broadcast their message and then invoking “fairness” to silence

  the other undermines core First Amendment protections.

           As stated herein, Plaintiff’s online smear campaign began even before she filed her lawsuit

  and continues to this day. In addition to maintaining a Substack and GiveSendGo fundraiser,

  Plaintiff has posted and continues to post messages online, including on X, about Bonnell, the

  undersigned attorneys, and the allegations in her lawsuit. (Bonnell Decl.[ECF No. 42-1 ¶ 27 & Ex.

  I; Brettler Decl. ¶¶ 3-6 & Exs. A-D.) Her public statements include vitriolic attacks on Bonnell

  and his attorneys, regular updates concerning the rulings of this Court, repeated pleas for money

  to fund her litigation, as well as repeated pleas for additional witnesses to come forward and testify

  against Bonnell. Plaintiff cannot have it both ways. The Motion should be denied.

  V.       CONCLUSION

        For the foregoing reasons, Bonnell respectfully requests that the Court deny Plaintiff’s Motion

  for Protective Order.




                                                    11
Case 1:25-cv-20757-JB Document 99 Entered on FLSD Docket 06/16/2025 Page 13 of 13




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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on June 16, 2025, a true and correct copy of the foregoing was

  served on all parties via transmission of Notices of Electronic Filing generated by CM/ECF and

  via electronic transmission to counsel of record for these parties.


                                                        By:     /s/ Robert L. Raskopf
                                                                     Attorney
                                                   12
